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 2   Nevada State Bar No. 11479
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     Jackie_Witt@fd.org
 6
 7   Attorney for Russell Hamblin

 8
                                 UNITED STATES DISTRICT COURT
 9
                                        DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:06-CR-00369-JCM-EJJ

12                  Plaintiff,                               STIPULATION TO CONTINUE
                                                               REVOCATION HEARING
13          v.
                                                                   (Second Request)
14   RUSSELL HAMBLIN,

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
18   United States Attorney, and Supriya Prasad, Assistant United States Attorney, counsel for the
19   United States of America, and Rene L. Valladares, Federal Public Defender, and Jacquelyn N.
20   Witt, Assistant Federal Public Defender, counsel for Russell Hamblin, that the Revocation
21   Hearing currently scheduled on June 29, 2022 at 10:30 am, be vacated and continued to a date
22   and time convenient to the Court, but no sooner than sixty (60) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Defense counsel needs additional time to discuss this matter with Mr. Hamblin
25   and investigate the allegations in the Petition.
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 1          2.      The government anticipates filing new charges and the parties request additional
 2   time to facilitate a global resolution for the same.
 3          3.      Mr. Hamblin is in custody and agrees with the need for a continuance.
 4          4.      The parties agree to the continuance.
 5          This is the second request for a continuance of the revocation hearing.
 6          DATED this 23rd day of June 2022.
 7
 8    RENE L. VALLADARES                                JASON M. FRIERSON
      Federal Public Defender                           United States Attorney
 9
10       /s/ Jacquelyn N. Witt                             /s/ Supriya Prasad
      By_____________________________                   By_____________________________
11    JACQUELYN N. WITT                                 SUPRIYA PRASAD
      Assistant Federal Public Defender                 Assistant United States Attorney
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 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 2:06-CR-00369-JCM-EJJ
 4
                    Plaintiff,                           ORDER
 5
            v.
 6
     RUSSELL HAMBLIN,
 7
                    Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for

11   Wednesday, June 29, 2022 at 10:30 a.m., be vacated and continued to September 7, 2022,

12   at 11:00 a.m.; or to a time and date convenient to the court.

13          DATED June 24, 2022.

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                                                  UNITED STATES DISTRICT JUDGE
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